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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                                          CASE NUMBER:

 MAERSK LINE
                                                             5:18−cv−01541−SVW−SP
                                      PLAINTIFF(S)

                           v.

 STARMAX METAL AND SUPPLY, INC. , et al.

                                                                         DEFAULT BY CLERK
                                                                           F.R.Civ.P. 55(a)
                                   DEFENDANT(S).




      It appearing from the records in the above−entitled action that summons has been served upon the
 defendant(s) named below, and it further appearing from the affidavit of counsel for Plaintiff, and other
 evidence as required by F.R.Civ.P. 55(a), that each of the below defendants have failed to plead or otherwise
 defend in said action as directed in said Summons and as provided in the Federal Rules of Civil Procedure:

      Now, therefore, on request of counsel, the DEFAULT of each of the following named defendant(s) is
 hereby entered:

  Starmax Metal and Supply, Inc.




                                                        Clerk, U.S. District Court

   October 9, 2018                                      By /s/ Margo Mead
 Date                                                   Deputy Clerk

 CV−37 (10/01)                           DEFAULT BY CLERK F.R.Civ.P. 55(a)
